        Case 2:20-cv-00253-RMP      ECF No. 8    filed 09/18/20   PageID.19 Page 1 of 3




1
                                                                                 FILED IN THE
                                                                             U.S. DISTRICT COURT
                                                                       EASTERN DISTRICT OF WASHINGTON
2
                                                                       Sep 18, 2020
3                                                                           SEAN F. MCAVOY, CLERK



4

5                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON
6

7     LISA MARIE N.,
                                                    NO: 2:20-CV-253-RMP
8                                Plaintiff,
                                                    ORDER OF DISMISSAL WITHOUT
9           v.                                      PREJUDICE

10    COMMISSIONER OF SOCIAL
      SECURITY,
11
                                 Defendant.
12

13         BEFORE THE COURT is a Report and Recommendation, ECF No. 6, from

14   United States Magistrate Judge John T. Rodgers recommending that Plaintiff’s

15   Complaint seeking judicial review of the Commissioner of Social Security’s

16   decision be dismissed without prejudice and that Plaintiff be required to provide

17   notice of the dismissal to any Defendants she served with a copy of the Complaint

18   and Summons.

19         On July 20, 2020, Judge Rodgers denied with leave to renew Plaintiff’s

20   application for in forma pauperis status in this matter on the basis that Plaintiff had

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     ORDER OF DISMISSAL WITHOUT PREJUDICE ~ 1
        Case 2:20-cv-00253-RMP     ECF No. 8    filed 09/18/20   PageID.20 Page 2 of 3




1    not provided information regarding how Plaintiff provides for basic needs such as

2    food and utilities. ECF No. 5. Judge Rodgers’ Order directed Plaintiff to render the

3    full filing fee or submit a properly completed Application to Proceed In Forma

4    Pauperis. Plaintiff did neither. Judge Rodgers then issued his Report and

5    Recommendation for dismissal on August 20, 2020. ECF No. 6. Plaintiff did not

6    timely object to the Report and Recommendation, nor pay the filing fee, nor file a

7    completed Application to Proceed In Forma Pauperis.

8          After reviewing the Report and Recommendation and relevant authorities,

9    the Court finds that the Magistrate Judge’s findings are correct. However, the

10   Court declines to incorporate Judge Rodgers’ recommendation that Plaintiff notify

11   Defendants of the dismissal because the United States Attorney’s Office will

12   receive notification of the dismissal at the contact information entered on the

13   docket in this matter. Therefore, the Court adopts the Report and

14   Recommendation in part and HEREBY ORDERS:

15         1.     The Report and Recommendation, ECF No. 6, is ADOPTED IN

16   PART as outlined above.

17         2.     The Complaint in this matter is dismissed without prejudice for

18   failure to timely pay the filing fee or submit a completed Application to Proceed In

19   Forma Pauperis.

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     ORDER OF DISMISSAL WITHOUT PREJUDICE ~ 2
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1          IT IS SO ORDERED. The District Court Clerk is directed to enter this

2    Order, provide copies to counsel, and close the file.

3          DATED September 18, 2020.

4
                                                s/ Rosanna Malouf Peterson
5                                            ROSANNA MALOUF PETERSON
                                                United States District Judge
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     ORDER OF DISMISSAL WITHOUT PREJUDICE ~ 3
